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PROB 12c
(LAWP 6/13/13)

                                         United States District Court

                                                      for the

                                        Western District of Louisiana

                  Petition for Warrant or Summons for Offender Under Supervision



Offender: Tyquario Derell Adams Docket No.0536 5:16-CR-00057-01

Sentencing Judge: The Honorable S. Maurice Hicks, Jr., Chief United States District Judge

Date of Original Sentence: April 18, 2017

Original Offense: Count 1; Conspiracy to Distribute Cocaine
                    Count 8: Distribution of Powder Cocaine

Original Sentence: 46 months imprisonment; 3 years supervised release

Type of Supervision: Supervised Release Date Supervision Commenced: January 18, 2019

Assistant U.S. Attorney: Allison Bushnell Defense Attorney: Christopher Hatch (Retained)



                                          PETITIONING THE COURT


13 To issue a warrant

D To issue a summons

D Other


The probation officer believes that the offender has violated the following condition(s) of supervision:

            VIOLATION NUMBER NATURE OF NONCOMPLIANCE

            Mandatory Condition -1 You must not commit another federal, state or local crime.


                                      On December 9, 2019, the defendant was arrested by the Shreveport Police
                                      Department and charged with Battery of a Dating Partner Pregnant Victim,
                                      Battery of a Dating Partner with Strangulation, and Home Invasion.

                                      While the above-listed charges remain pending, the defendant was arrested
                                      on August 20, 2020, by the DeSoto Parish Sheriffs Office on charges of
                                      Possession of a Schedule II, Controlled Dangerous Substance (Cocaine) and
                                      Resisting an Officer, following a traffic stop wherein he was the passenger in
                                      the vehicle.
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Offender Name: Tyquario Derell Adams August 21, 2020
Docket Number: 0536 5:16CR00057 Page 2 12C - WARRANT




U.S. Probation Officer Recommendation and Justification:

Due to the nature and circumstances surrounding the defendant's most recent arrest, which involves illegal
narcotics, as well as his continued disregard for the law, it is recommended that the Court issue a warrant for the
defendant to appear in court and show cause, if any he can, why his supervised release should not be revoked. It
is noted that the defendant was issued a summons to appear for a pending revocation hearing referenced his arrest
for Battery of a Dating Partner Pregnant Victim, Battery of a Dating Partner with Strangulation, and Home
Invasion. Currently, no hearing date has been set.



I declare under penalty of perjury that the foregoing is true and correct.



 Executed on: 8/21/2020


                                 08/21/2020
 Karen W. Lee L Date
 Supervising U.S. Probation Officer
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Offender Name: Tyquario Derell Adams                                              August 21,2020
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THE COURT ORDERS:

D      No Action

^      The Issuance of a Warrant

D      The Issuance of a Summons

D      Other:




                                                   rftie Honorable S. Maurice Hicks, Jr.
                                                   Chief United States District Judge



                                                         ^/^f/^0^0
                                                   Date / /
